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                      6 Attorneys for Plaintiff
                             R.Y.L. Inc., a California corporation
                      7

                      8                                                     UNITED STATES DISTRICT COURT

                      9                                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

                   10

                   11          R.Y.L. INC., a California corporation,                      CASE NO.: 2:20-cv-05606 RGK (JCx)
                   12                                        Plaintiff,
                                                                                           PROOF OF SERVICE OF
                   13          v.                                                          SUMMONS AND COMPLAINT ON
                                                                                           DEFENDANT SCIENTIFIC GLASS
                   14          SCIENTIFIC GLASS ART, INC. a                                ART, INC., A CALIFORNIA
                               California com_oration; JORGE OMAR                          CORPORATION
                   15          AVILA MARTINEZ also known as
                               JORGE AVILA and ANDANTE
                   16          A VILA, an individual; BARAKAT
                               ZAHRAN also known as ZAHRAN
                   17          BARAKAT and IDSHAM BARAKAT,
                               an individual; and DOES 1 through 50,
                   18          inclusive,
                   19                                        Defendants.
                                                                                           Com2laint filed: June 25, 2020
                   20                                                                      Trial Date:      None Set
                   21
                   22                       PlaintiffR.Y.L. Inc., a California corporation ("Plaintiff' or "R.Y.L." herein),
                   23        hereby files the Proof of Service of Summons and Complaint on Defendant Scientific
                   24        Glass Art, a California corporation, the original of which is attached hereto as Exhibit
                   25        "1 ", respectfully.
                   26 II

                   27        II
                   28        II

                                              PROOFS OF SERVICE OF SUMMONS AND COMPLAINT ON DEFENDANT SCIENTIFIC GLASS ART, INC.
/:'.SF.CY ANGlwpdac:sl/l.Y.LI/NE.\,Pkadbtgs\POS-.~ & C-,,,alnl-Sckntlf,c Ghm.doa
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                           Exhibit ''1 ''
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                                                                                                                            POS-010
ATTORNEY OF PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                          .P'OR COORT USB ONLY
ALAN N. GOLDBERG                                    112836
STERN & GOLDBERG#
6345 BALBOA BLVD., SUITE 200
ENCINO, CA 91316
   TELEPHONE: ( 818 ) 7 5 8 - 3 9 4 0
ATTORNEY FOR: PLAINTIFF
  UNITED STATES DISTRICT COURT-C
   STREET ADDRESS: per rule 2 .150 (a) (8):
  MAILING ADDRESS: the address of the court is .not required
CITY AND ZIP CODE:
      BRANCH NAME:

Plaintiff                  R.Y.L. INC., A CALIFORNIA CORPORATION                          CASE NUMBER:
Defendant                  SCIENTIFIC GLASS ART, INC., ET, AL.,                           2:20-CV-05606
                                                                                           Clt. Ref. or File No.:
                                             PROOF OF SERVICE OF SUMMONS                  7812-026
              (Separate proof of service is required for each party served.)

1. At the time of service I was at least 18 years of age and not a party to this action.

2. I served copies of:
        SUMMONS AND COMPLAINT; ATTACHMENT TO SUMMONS; CIVIL CASE COVER SHEET;
        ATTACHMENT TO CIVIL CASE COVER SHEET; CERTIFICATION AND NOTICE OF INTERESTED
        PARTIES; NOTICE OF ASSIGNMENT TO UNITED STATES JUDGE; NOTICE TO PARTIES OF
        COURT-DIRECTED ADR PROGRAM                                      .




3.    a. [XX] Party served
                   SCIENTIFIC GLASS ART, INC., A CALIFORNIA CORPORATION



      b. (XX] Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not
              a person under item Sb on whom substituted service was made) (specify name and relationship to the party
              named in item 3a):
                JORGE OMAR AVILA MARTINEZ, REGISTERED AGENT
                 (authorized to receive service of process)
4. Address where the party was served: 10925 FRACAR AVENUE
                                       Lynwood, CA 90262

s. I served the party (check proper box)
      b. [XX] by substituted service. On (date): 07/04/20 at (time): 11:33 am I left the documents listed in item 2
              with or the presence of:
              ADELAIDA MARTINEZ, OCCUPANT/PERSON IN CHARGE


             (2) [XX]      (home) a competent member of the household (at least 18 years of age) at the dwelling house or
                           usual place of abode of the party. I informed him or her of the general nature of the papers.

             (4)     [XX
                       I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be
                       served at the place where the copies were left (Code Civ. Proc., 415.20). I mailed the documents
                       on (date): 07 /04/20 from (city): LOS ANGELES             or [_] a declaration of mailing is attached.
              (5) [ _ I attach a declaration of diligence stating actions taken first to attempt personal service.
                                                                                                            Page 1 of 2
Computer-generated form                  PROOF OF SERVICE OF SUMMONS                         code of Civil Procedure, 417 .10


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Judicial Council of California
POS-010 (Rev. January 1, 2007)                 rd
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 Plaintiff                     R . Y.L. INC., A CALIFORNIA CORPORATION                                           CASE NUMBER:
 Defendant                     SCIENTIFIC GLASS ART, INC., ET, AL.,                                              2: 20-CV-05606

          c.            by mail and acknowledgment of r eceipt of service , I mailed the documents l isted
                       in item 2 to the party, to the address shown in Item 4, by first-class mail,
                       postage prepaid.

               (1) on (date) :                (2) from (city) :
               (3) [_ ] with two copies of the Notice and Acknowledgment o f Receipt (form 982 (a) (4)
                         and a postage paid return envelope addressed to me . (Attach completed
                         Notice and Acknowledgement of Receipt (form 982(a) (4) . ) (Code of Civ .
                         Proc. , 415.30) . )

               (4) [       to a n address outside California with return receipt request ed.
                            (Code Civ. Proc., 415 . 40)
          d.           by other means specify means of service and authorizing code section):




6. The "Notice to the Person Served" (on the summons) was completed as follows:
        a. [  ] as an individual defendant.
        b. [_] as t he person sued under t he fictitious name of (specify):

          c. [   ] as occupant/tenant.
          d. [XX ] on behalf of:
                              SCIENTIFIC GLASS ART, INC ., A CALIFORNIA CORPORATION



                        under the following Code of Civil Procedure section :
                         [XX] CCP 416 .10 (corporation)                            l   416.60     (minor)
                         [  ] 416.20 (defunct corporation)
                                                                               -   l   416 . 70   (ward or conservatee)
                         [_ ] 416.30 (joint stock or company association)          l   416 . 90   (authorized person)
                         [  ] 416.40 (association or partnership)                  l   415.46     (occupant/tenant)
                         [  ] 416. 50 (public entity)
                                                                               -   l   other :
                         [  ] CCP 415.95 (business organization , form unknown)

7 . Person who served papers
         a . Name : J. MARTINEZ
         b . Address: 5632 Van Nuys Blvd., # 240 Van Nuys CA 91401
         c. Telephone number : (213) 928-7247
         d. The fee for service was : $         54.45     (recoverable under CCP1033 . 5(a) (4) (Bl)
         e . I am :
                    (1)    ] not a registered California proc ess server.
                    (2)    ] exempt from r egistration under Business and Professions Code
                            Section 22350(b).
                    (3) [XX] registered California process server:
                                  (i) [    Owner           Employee   [XX] Independent contractor.
                                    (ii)Registration No.: 2013031448
                                   (iii)County : LOS ANGELES

8. [XX]    I declare under penalty of perj u ry under the laws of the State of California that
            the foregoing is true and correct.
            or
9. [       I am a California sheriff or marshal and I certify that the foregoing is

Date : 07 /06/20

       J . MARTINEZ
 (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                            (SIGNATURE)

                                                                                                                               Page 2 of 2
 Computer-generated form                         PROOF OF SERVICE OF SUMMONS                                    Code of Civil Procedure, 417.10
 Judicial Council of California
 POS-010 (Rev . January 1, 2007)            GO : 11
